                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                          DOCKET NO. 1:16-cr-00039-MOC-DLH

 UNITED STATES OF AMERICA,                       )
                                                 )
                                                 )
                                                 )
 Vs.                                             )                        ORDER
                                                 )
 DANNY TERRON RONEY,                             )
                                                 )
                  Defendant.                     )



       THIS MATTER is before the court on Defendant Roney’s pro se “Notice of Appeals”

(#128) and “Freedom of Information and Privacy Act Request” (#129). In his so-called “Appeals,”

defendant takes issue with the Magistrate Judge Howell’s finding of his incompetence to proceed

to trial and in his denial of defendant’s pro se motions to dismiss court appointed counsel and

appoint new counsel. In his FOIA request, defendant asks this court to produce copies of all

pleadings filed in this action as well as other court actions he has been involved in in other

jurisdictions over the years, including what appears to be a civil action he initiated against the then

Governor of South Carolina.

       The court notes that, prior to his filing the instant pro se motions, the Judge Howell

determined that defendant not competent to proceed to trial at this time, Sealed Order (#122)

(unsealed for the limited purpose of noting the finding of the Magistrate Judge as to competency),

a conclusion in which this court fully concurs after a review of both Judge Howell’s Order and the

FTR recordings (#s 113 & 121) of the competency hearing. Defendant having been determined to

be incompetent to assist in his own defense, he is also not competent in his filing of the instant

motions.

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                       In any event, review of the docket reveals that defendant is represented by court-appointed

               counsel in this matter, Ms. Coleman. Under Local Criminal Rule 47.1(h), this court does not

               ordinarily entertain pro se motions from represented parties. This court fully concurs in Judge

               Howell’s conclusion that defendant is being afforded excellent representation by Ms. Coleman and

               that there is no basis for new representation. Sealed Order (#124) (unsealed for the limited purpose

               of reviewing Judge Howell’s conclusion that “Ms. Coleman has been performing her job in

               representing Defendant admirably and there is no basis for new representation.”). Review of this

               pleadings reveals no exceptional circumstances exist under Rule 47.1(h) as court-appointed

               counsel is able to obtain any documents necessary for an adequate defense or for any other

               legitimate purpose. The court will, therefore, deny both pro se motions in accordance with Rule

               47.1(h) as counsel is well able to file any appropriate motions necessary for an adequate defense

               in this matter.

                                                          ORDER

                       IT IS, THEREFORE, ORDERED that Defendant Roney’s pro se “Notice of Appeals”

               (#128) and pro se “Freedom of Information and Privacy Act Request” are DENIED.



Signed: January 31, 2017




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